Case 1:10-cv-01834-ABJ Document 6-3 Filed 01/03/11 Page 1 of 2




                      Exhibit 2
             Case 1:10-cv-01834-ABJ Document 6-3 Filed 01/03/11 Page 2 of 2

                                   Clinton Presidential Library
                                                                               1200 President Clinton Avenue
                                                                                       Little Rock, AR 72201




October 9, 2009

Michael Bekesha
Judicial Watch, Inc.
501 School Street, S.W.
Suite 700
Washington, D.C. 20024
                                                                                FOIA Case: 2010-0024-F
Dear Mr. Bekesha:

This letter is in response to your request dated October 7, 2009 for release of information from the
William J. Clinton Presidential Library under the Presidential Records Act (PRA) (44 U.S.C. 2201-07)
and the Freedom of Information Act (FOIA) (5 U.S.C. 552, as amended). Your request for “copies of
the audiotapes of the seventy-nine conversations that occurred between Taylor Branch and President
William J. Clinton at the White House between January 20, 1993 and January 20, 2001” was received
by the Clinton Library on October 8, 2009.

The items you have requested are not presidential records and therefore are not subject to request under
the PRA and FOIA. Rather, the tapes are personal records, as defined in section 2201(3) of the PRA.
Therefore, we do not consider this to be a denial under the Freedom of Information Act.

If you consider this response to be a denial of your FOIA request, you may appeal by writing to the
Deputy Archivist of the United States, c/o Clinton Presidential Library, 1200 President Clinton Avenue,
Little Rock, Arkansas 72201 or by email to Clinton.library@nara.gov. Both the letter and the envelope
or email subject line should be clearly marked “Freedom of Information Act appeal.” You have 35
calendar days from the date of this letter to file your appeal.

We will take no further action regarding this request unless we hear from you. If you have any further
questions, please feel free to contact me at (501) 244-2877.

Sincerely,


Dana Simmons
Supervisory Archivist
William J. Clinton Presidential Library




                                  NARA’s web site is http://www.archives.gov
